            Case: 1:18-cr-00096 Document #: 10 Filed: 05/28/19 Page 1 of 2 PageID #:48

                                                United States District Court
                                                Northern District of Illinois

In the Matter of

 USA                                       Presiding Magistrate Judge Sidney I. Schenkier
                           v.                                                Case No. 18-CR-96

 Attila Gyulai



               TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR A
                         REFERRAL TO MAGISTRATE JUDGE

   The above captioned case is currently pending on my calendar. I recommend to the Executive
Committee that this case be referred to the calendar of Magistrate Judge Sidney I. Schenkier, the
magistrate judge designated pursuant to Local Rule 72.1. The reasons for my recommendation
are indicated on the reverse of this form.



                                                           ________________________________
                                                                Judge Harry D. Leinenweber

Date: Tuesday, May 28, 2019



                                ORDER OF THE EXECUTIVE COMMITTEE

  IT IS HEREBY ORDERED that the above captioned case be referred to the calendar of
Magistrate Judge Sidney I. Schenkier


                                                      ENTER

                                      FOR THE EXECUTIVE COMMITTEE




                                                           _____________________________________
                                                               Chief Judge Ruben Castillo
Dated:Tuesday, May 28, 2019

District Referral - To Designated Magistrate Judge
            Case: 1:18-cr-00096 Document #: 10 Filed: 05/28/19 Page 2 of 2 PageID #:49


CRIMINAL PROCEDURES

Hear and enter order(s) on the following non-dispositive motion/matter:

- Arraignment(s) and/or detention hearings

- Bail/Detention Hearing(s)




EXCEPTIONS OR ADDITIONS:




District Referral - To Designated Magistrate Judge
